 

UNITED STATES DISTRICT COURT ,4-8 uel RCT ae q
EASTERN DISTRICT OF WISCONSIN® 7) E82)" 2507!

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WILLIAM FEEHAN,
Plaintiff,
Case No. 2:20-cv-1771

Vv.

WISCONSIN ELECTIONS COMMISSION, et al.

Defendants.

 

JAMES GESBECK’S AMICUS BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION
FOR INJUNCTIVE RELIEF (DKT. NO. 10)

 

James Gesbeck files this amicus’ brief in opposition to plaintiff's motion for injunctive
relief. Dkt. No. 10. Plaintiff seeks a temporary restraining order or preliminary injunction
“set[ting] aside the results of the 2020 General Election” and granting other relief. Id at { 5.
Among the relief requested by plaintiff are various orders directed at Governor Evers and the
Wisconsin Elections Commission. One of the requested orders is “An order requiring Governor
Evers to transmit certified election results that state that President Donald Trump is the winner of
the election”. Dkt. No. 9 at { 142. This would be an unprecedented order in the history of the
United States of America. Even in the seminal Bush v Gore case, the court did not order Florida
to transmit certified election results stating that Bush was the winner of the election. 531 U.S. 98,
111 (2000).

Plaintiffs motion for injunctive relief fails before even reaching the merits. Plaintiff has

brought this case in Federal Court asserting a variety of Constitutional violations; however,

 

+ Pursuant to Judge Pepper's Order. Dkt. No. 37.

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plaintiff has not established this court has jurisdiction. Dkt. No. 9. Plaintiff was a nominee of the
Republican Party to be a Presidential Elector for Wisconsin. Id. at {| 24. Plaintiff is not the
correct party to be challenging the 2020 General Election results and this Federal Court is not the
proper jurisdiction in which the challenge should be heard. The Constitution provides that the
power to appoint Electors is vested in the Legislature of each State. U.S. CONST. art. II, § 1
(“Electors Clause”). The Wisconsin Legislature has directed that challenges to an election are to
be brought in Wisconsin Circuit Courts by an aggrieved party. Wis. Stat. § 9.01(6). In the
Presidential Election the aggrieved party is Donald Trump. Wis. Stat. § 9.01(1)(a)(5)(b). To the
extent that the results of this election need to be challenged, Donald Trump is the correct
plaintiff, and the Wisconsin Circuit Court is the correct venue. In fact, Donald Trump is the
plaintiff in Milwaukee County Circuit Case 2020CV7092 which is an appeal of a recount
brought under Wis. Stat. § 9.01.

The plaintiff further fails to meet any of the standards for a temporary restraining order or
preliminary injunction.

Plaintiff fails to make an initial showing that plaintiff is likely to succeed on the merits.
Plaintiff relies on numerous affidavits, including anonymous affidavits, as evidence of a
“massive election fraud” Dkt. No. 9 at § 1. But plaintiffs affidavits contain irrelevant
information about elections occurring in other States and other Countries and contain no specific
allegations of election misconduct occurring in Wisconsin during the 2020 General Election.

Plaintiff claims to have no adequate remedy at law, however plaintiff does not further
argue how that is the case. Plaintiff’s remedy for these alleged violations is to have the aggrieved
party under Wis. Stat. § 9.01(1)(a)(5)(b) challenge the recount under Wis. Stat. § 9.01(6) which

is exactly what is occurring in Milwaukee County Circuit Case 2020CV7092.

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Plaintiff further will not suffer any harm, let alone, irreparable harm if the court denies
plaintiff's motion. If the plaintiff's factual allegations and claim of a “massive election fraud” are
true, then Trump will prevail in Milwaukee County Circuit Case 2020CV7092. If Trump prevails
in that, then regardless of what occurs in this case, plaintiff will have suffered no harm. In fact,
plaintiff would be one of the Wisconsin Electors voting for Donald Trump in the Electoral
College.

Plaintiff argues that the balance of equities would favor plaintiff's proposed remedy.
However, nothing could be further from the truth. Plaintiff's proposed remedy is unprecedented.
It would result in this court ordering Governor Evers to certify that Donald Trump won the State
of Wisconsin in contradiction to the outcome obtained by operation of Wisconsin’s election law
enacted by the legislature pursuant to Article II of the Constitution. This would disenfranchise
every single individual who voted in the 2020 General Election. Plaintiff does not seek the
exclusion of certain fraudulent ballots or the removal of certain fraudulent additions to the tallies,
rather plaintiff seeks wholesale disenfranchisement of every single Wisconsin voter. The
equitable outcome in this case is for this court to deny the plaintiffs motion for an injunction and
allow the election challenge occurring pursuant to the process outlined by the Wisconsin
legislature under the authority granted to it by Article 2 of the Constitution.

Plaintiff proposed order would be extraordinarily harmful to the citizens and voters of the
State of Wisconsin and thus the public. If plaintiff's motion is granted, then this court, acting
alone, would be dictating the results of this election. This court would be disenfranchising every
single voter and discarding every single vote in the State of Wisconsin by ordering the Governor
to certify an election result dictated by this court. There are no examples of a court deciding an

election itself. Rather, courts have ruled on the application of election law to specific ballots or

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sets of ballots. The election process then proceeds pursuant to election law and a winner is
determined. Judges do not and should not declare electoral winners as opposed to changing the
tallies.
BACKGROUND

FACTUAL BACKGROUND

It is undisputed that the 2020 General Election took place in Wisconsin on November 3rd)
2020. As part of that election, voters participated in selecting the winner of Wisconsin’s 10
Electoral votes. Wis. Stat. Chapters 5-12. Joseph Biden and Donald Trump were the two highest
vote getters in the election for the office of the President of the United States. The Wisconsin
Elections Commission pre-recount canvass reported 1,630,673 for Joseph Biden and 1,610,065
for Donald Trump”. Based on that outcome, Wisconsin election law would dictate that the
Wisconsin Elections Commission and Governor Evers certify the Electors for Joseph Biden. Id.

The 2020 General Election in Wisconsin was unique as far as General Elections in
Wisconsin are concerned. The court can take judicial notice that there is a global health
pandemic taking place caused by the COVID-19 virus. This resulted in “astronomically more
ballots case by mail than in any previous fall election in Wisconsin”. Further complicating the
election were public safety precautions necessitated by COVID-19*. The Center for Disease
Control recommends social distancing which includes keeping 6 feet away from other people’.

This complicated the ballot counting process and voting process as elections staff worked to keep

 

2 https://elections.wi.gov/sites/elections.wi.gov/files/Statewide%20Results%20AII%200 ffices%20%28pre-
Presidential%20recount%29.pdf (last accessed December 5**),

3 https://www.ijsonline.com/story/news/politics/elections/2020/10/19/wisconsin-voter-turnout-more-than-half-
2016-in-some-areas-due-absentee-ballots/3709355001/ (last accessed December 5“).

4 See, e.g. https://bipartisanpolicy.org/report/counting-the-vote-during-the-2020-election/ (last accessed
December 5*),

5 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html (last accessed
December 5th).

 

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people 6 feet apart. Additionally, absentee ballots in Wisconsin cannot be counted until the day
of the election. Wis. Stat. § 6.88.

The difference in votes between Trump and Biden was 20,608 votes. This is within the
1% margin of votes cast required for a recount. Wis. Stat. § 9.01(1)(a)(5)(b). On November 18%,
President Trump filed a timely petition for a recount pursuant to Wis. Stat. § 9.01(1)(a)(1).
Pursuant to Wis. Stat. § 9.01(1)(a)(3), Trump only requested a recount take place in Dane
County and Milwaukee County®. That recount was conducted in both Dane County and
Milwaukee County. Milwaukee County performed their recount by hand’. The partial recount led
to a final canvass of Biden having 1,630,866 votes and Trump having 1,610,184 votes®.

Following the recount, Trump filed a petition for Original Action in the Wisconsin
Supreme Court as appeal number 2020AP1971-OA. The Wisconsin Supreme Court entered a
December 3" Order denying the petition for leave to commence an original action’. The
Wisconsin Supreme Court specifically noted that Wis. Stat. § 9.01(6) required such an action be
commenced in circuit court. Trump then filed two cases, one each in Dane County and
Milwaukee County. These were ultimately consolidated into Milwaukee County Circuit Case
2020CV7092 before Judge Simanek. Further case filings are expected December 7 and 9" in
advance of a December 10 or December 11" hearing.
PLAINTIFF’S ALLEGED FACTS

The plaintiff has alleged a massive election fraud that “occurred during the 2020 General

Election in the City of Milwaukee, southeastern Wisconsin counties, and throughout the State of

 

5 https://elections.wi.gzov/elections-voting/recount (last accessed December 5th).

7 See https://www.wbay.com/2020/11/24/milwaukee-county-could-finish-recount-as-soon-as-wednesday/ (last
accessed December 5**).

8 https://elections.wi.gov/elections-voting/recount (last accessed December 5th).

® https://www.wicourts.gov/sc/opinion/DisplayDocument.pdf?content=pdf&seqNo=311669

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Wisconsin”. Dkt. No. 9 at § 1. Plaintiffs amended complaint contains numerous factual
allegations and includes numerous exhibits. Dkt. No. 9-1 through 9-19. Those exhibits include
various affidavits, although several affidavits have the name of the affiant redacted. E.g., Dkt.
No. 9-1. While this could be cause for concern, most of the affidavits are wholly irrelevant to the
matter before this court. For this court to find that massive election fraud during the 2020
General Election in Wisconsin, there must be a factual basis demonstrating that such fraud
occurred. That evidence is simply missing from the plaintiff's pleadings. In fact, plaintiff fails to
meet any of the requirements for a preliminary injunction even assuming the testimony of the
affiants is true.

Dkt. No. 9-1 is an affidavit regarding elections occurring in Venezuela. However, the
only connection between that affidavit and the 2020 General Election in the State of Wisconsin
is that the same vendor may have supplied voting equipment in both Venezuela and in the State
of Wisconsin. Id. Importantly, while the affidavit outlines electoral fraud that occurred in
Venezuela, it does not allege any fraud in Wisconsin and is thus irrelevant. Dkt. No. 9-8 also
contains more allegations regarding Venezuela that again are irrelevant to the Wisconsin
election. The question of whether election fraud occurred in Venezuela is not relevant to the
question presented before this court of whether there was election fraud in the Wisconsin 2020
General election.

Plaintiffs 2"4 and 3" exhibits reference various statistical analyses performed based on a
poll of Wisconsin residents. Dkt. No. 9-1 and 9-2. The problem with this is that it relies on a poll
conducted by the affiant’s staff. Polls are simply not accurate as by definition they are limited to
a sample size and further limited based on the individuals who respond to them. Individuals who

respond are notably not under oath. Plaintiff's 9" exhibit similarly looks at voting trends and

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concludes only there were “strikingly high Democratic vote totals”. Dkt. No. 9-9. There is
nothing inherently illegal or fraudulent in “strikingly high Democratic vote totals” and there is no
allegation in that affidavit that these vote totals were the product of fraud.

As an example of inherent unreliability of polls, polls were inaccurate both in the 2016
General Election in Wisconsin and in this election. In 2016 the polls predicted a Clinton victory
in Wisconsin which turned out to be inaccurate!®. One 2020 poll had Biden winning Wisconsin
by 17 points!!. These limitations are the reason why we rely on holding actual elections and not
selecting winners based on polling. This court should not and cannot order Governor Evers to
declare a certain individual the winner of an election solely based on statistical analysis.

Plaintiff's 4" exhibit attempts to show “something unusual” occurring with Dominion
Voting Systems machines based on a statistical analysis. Dkt. No. 9-4. However, missing from
this is any evidence showing what this “something unusual” or even a suggestion of what
“something unusual” might be. Given the other affidavits showing electoral fraud occurring in
other countries using Dominion Voting System machines perhaps plaintiff wants the court to
view the evidence in that manner. However, there are no facts to suggest, let alone prove, that
something fraudulent occurred in Wisconsin.

Plaintiffs 5" exhibit simply outlines the hardware in use at each Wisconsin Municipality.
Dkt. No. 9-5. Plaintiff’s 6" exhibit concerns an individual named Eric Coomer who supposedly
works at Dominion Voting System and is apparently biased against Trump. Dkt. No 9-6. In the
light most favorable to the plaintiff, Eric Coomer made a statement that he made sure Trump was

not going to win the election. Id. However, there is nothing in the affidavit to indicate that Eric

 

1° https://www.nytimes.com/newsgraphics/2016/10/18/presidential-forecast-updates/newsletter.html
11 https://abcnews.go.com/Politics/covid-surge-hurts-trump-wisconsin-biden-leads-closer/story?id=73834112

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Coomer did anything, let alone something that would interfere specifically in the 2020
Wisconsin General election which is what plaintiff must prove.

Plaintiff's 7H, gh oth 11, 12 13%, 14% 15%, 16%, and 18" exhibit describes
vulnerabilities found in voting systems in various places, but notably none of them reference
Wisconsin. Dkt. No. 9-7, 9-8, 9-10, 9-11, 9-12, 9-13, 9-14, 9-15, 9-16, and 9-18. Whether other
Dominion Voting Systems are vulnerable is simply not relevant to what occurred in Wisconsin.
Additionally, the mere presence of a security vulnerability in Wisconsin does not mean that it
was exploited, and electoral fraud occurred. Plaintiff does not have any evidence in the affidavits
that any election machines in Wisconsin were exploited and votes changed.

Plaintiff's 17 exhibit contains several factual statements which ends in a conclusion that
fraud occurred. Dkt. No. 9-17. One of the supposed indicators of fraud are higher than normal
voter turnout. Additionally, there was a spike of votes that did not come from a random
population of votes. While these facts are interesting, and possibly grounds for further
investigation, there is no factual allegation of fraud beyond pure conjecture that it occurred. This
court cannot grant plaintiff's motion based on conjecture in the absence of facts demonstrating
that election fraud actually occurred in Wisconsin during the 2020 General Election.

Plaintiff's 19" exhibit performs a statistical analysis of voting trends, and it purports the
outcome of this analysis to be show “fraud”. Dkt. 9-19. The problem is there are no further
factual allegations to indicate that it was in fact fraud, what the fraud was, who carried out the
fraud and other factually important questions. There may be other explanations, and this does
appear to warrant further investigation. However, it is insufficient evidence for this court issue a

preliminary injunction.

 

 

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PLAINTIFF’S MISSING FACTS

It is important to examine the factual claims that are remarkably absent from plaintiff s
affidavits. This court is being asked to apply the law to the facts that are present. However, it is
the facts that are absent that truly demonstrate plaintiff's inability to succeed on the merits.

There is no allegation of fraudulent misconduct on the part of the named defendants or
any person associated with conducting the Wisconsin election. For the plaintiff to succeed with a
claim of “massive election fraud” there would need to be one or more persons who committed
fraud. However, the plaintiff does not allege any specific individual committed fraud and does
not allege with particularity the circumstances constitution fraud as required under Fed. R. Civ.
P. 9(b).

There is further no evidence presented that votes were not counted, ballots were added, or
that voters were denied the right to vote. At best the plaintiffs evidence demonstrates that fraud
could be explanation for statistically significant events that occurred. So, at best, plaintiff shows
there is a possibility of fraud. However, the mere possibility of harm (in this case fraud) is not
even enough for Article 3 standing in Federal courts. See Clapper v. Amnesty Int’] USA, 568
U.S. 398 (2013). As a matter of law, it is certainly not enough to prove that massive election
fraud occurred.

Further missing from the plaintiff's factual claims are an accounting of what the vote
total should be. Plaintiff solely cites various statistical analysis for the proposition that Trump
should have won the election in the State of Wisconsin. However, the plaintiff offers no method
for calculating what accurate vote totals would even be. Instead, plaintiff requests that this court
disenfranchise every single voter and declare by fiat who won the election for the office of the

President of the United States.

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LEGAL STANDARD

Plaintiff correctly cites the standard for a temporary restraining order or preliminary
injunction”. "A preliminary injunction is an extraordinary remedy that is only granted where
there is a clear showing of need." Cooper v. Salazar, 196 F.3d 809 (1999). "[Plaintiffs must show
1) a likelihood of success on the merits, 2) irreparable harm if the preliminary injunction is
denied, and 3) the inadequacy of any remedy at law. Once this threshold showing is made, the
court balances 4) the harm to plaintiffs if the preliminary injunction were wrongfully denied
against the harm to the defendant if the injunction were wrongfully granted, and 5) the impact on
persons not directly concerned in the dispute (the “public interest”)" Id.

In addition to the legal standard for a preliminary injunction, it is important to consider
the legal standard applicable to the Wisconsin Election Code. Wis. Stat. Chapters 5-12. The
authority of Wisconsin to regulate its election is vested in its legislature by the United States
Constitution. U.S. CONST. art. II, § 1 (“Electors Clause”). Therefore, in considering this
challenge to a Wisconsin election this court must consider and analyze Wisconsin law.

Any analysis of Wisconsin election law must begin with Wis. Stat. § 5.01(1).
“Construction of chs. 5 to 12. Except as otherwise provided, chs. 5 to 12 shall be construed to
give effect to the will of the electors, if that can be ascertained from the proceedings,
notwithstanding informality or failure to fully comply with some of their provisions”. Id
(emphasis added). The legislature has expressed its clear intent that its statutory regulation of
election give effect to the will of the electors. Further, even the failure to fully comply with some

of the provisions of chs. 5 to 12 should not prevent effect being given to the will of electors. Id.

 

12 To the extent there may be a difference between a temporary restraining order or preliminary injunction, such
differences are irrelevant in this case. Plaintiff seeks a nondispositive court order requiring defendants to take
certain actions and abstain from taking other actions.

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The legislature has specified an exception to certain absentee voting requirements as set out in
6.84(2) which instructs that those provisions should be treated as mandatory provisions as
opposed to directory provisions. Wis Stat. § 6.84(2). This is relevant as the Wisconsin Supreme
Court has held that directory provisions only require substantial compliance as opposed to strict
compliance. See e.g., Sommerfeld v. Board of Canvassers, 269 Wis. 299, 69 N. W. (2d) 235
(1955) and Kaufmann v. La Crosse City Board of Canvassers, 8 Wis. 2d 182 (1959)
PLAINTIFF IS NOT ENTITLED TO A PRELIMINARY INJUNCTION

Plaintiff has not established the subject matter jurisdiction of this court

For plaintiff to succeed on the merits, plaintiff must show that this court properly has
subject matter jurisdiction. Plaintiff claims this court has subject matter jurisdiction granted by
28 U.S.C. § 1343. Plaintiff further cites Bush v. Gore for the proposition that "A significant
departure from the legislative scheme for appointing Presidential electors presents a federal
constitutional question.” 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring). This quote is
taken from a concurring opinion, not the majority opinion. Additionally, the majority opinion
said the decision was limited to the facts of the case before the Supreme Court. Id. at 109.

Notably, plaintiff does not allege a significant departure from the legislative scheme for
appointing Presidential electors in Wisconsin. Plaintiff alleges perhaps a minor departure of the
legislative scheme in two manners. First, that WEC guidance that indefinitely confined absentee
requests should not be changed based on what a clerk “believes” departs from the legislative
scheme that requires a clerk have “reliable information”. Dkt. No. 9 at { 40-41. As a legal matter,
a subjective belief that someone does not meet the requirements for indefinitely confined status

is not the same as having reliable information that someone does not meet the requirements for

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the indefinitely confined status. Thus, there is no conflict between the guidance issued by the
WEC and the legislative scheme for conducting elections.

Second, plaintiff alleges that addresses were added by clerks to the witness certification
of absentee ballots. Id. at § 43. Plaintiff alleges this departs because there is no explicit grant in
the statutes for clerks to add this information and Wis. Stat. § 6.87(6d) requires the witness
address be present. However, nothing in the statutory scheme requires that the witness be the
individual to fill out the address. Rather the only requirement is that the certification be executed
by the witness. Wis. Stat. § 6.88(3)(a). Plaintiff has not alleged and has not offered any evidence
showing that any of the ballots did not contain the witness’ address. Since there is no
requirement that the witness write the address, there has been no violation of the election code.

Since there is no substantial departure from the legislative scheme as required by Bush v.
Gore to assert standing under 28 U.S.C. § 1343, this court lacks subject matter jurisdiction over
these claims. The court should therefore deny the plaintiffs request for a preliminary injunction
as Federal Courts should not issue preliminary injunctions when they lack jurisdiction to even
hear the case. Since the plaintiff cannot establish subject matter jurisdiction, plaintiff has no
chance of succeeding on the merits as is required for a temporary injunction.

In the alternative, the court should defer to the Wisconsin courts pursuant to Article II of
the Constitution

Even if the court has subject matter jurisdiction to hear this case, it should defer to the
Wisconsin Courts to resolve these claims instead of using supplemental jurisdiction to hear
claims of violations of Wisconsin Statutes. 28 U.S.C. § 1367. The authority to regulate elections
is left to the legislature in each of the States by the Constitution. U.S. CONST. art. II, § 1

(“Electors Clause”). The Wisconsin legislature decided upon a method for resolving disputes in

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Wis. Stat. § 9.01. In cases where a violation of the Wisconsin Election Code is claimed, the
matter should be resolved in the Wisconsin Circuit Court. Id. This is already taking place in the
form of Milwaukee County Case 2020CV7092.

The plaintiff has not advanced any argument as to why the statutory scheme adopted by
the Wisconsin legislature pursuant to Article 2 is inadequate. In Bush v. Gore the case only
reached the Federal Court System and the United States Supreme Court after it had been ruled on
by the Florida Supreme Court. 531 U.S. 98 (2000). There is no reason offered by the plaintiff as
to why such a process should not occur here.

Should Wisconsin courts fail to protect adequately the interests of the public and this
plaintiff in having free and fair elections, then, and only then, should the Federal Courts invoke
their authority under 28 U.S.C. § 1343. The prospect of a Federal Court usurping the role of a
State to decide the identity of its Presidential Electors and order the Governor to appoint a certain
slate of Electors would be unprecedented and lacking in Constitutional authorization. Even in
Bush v. Gore, the US Supreme Court remanded the case back to the Florida Courts to have them
enter further orders, as necessary. Article II of the Constitution does not provide authority for a
Federal Court to order a State to appoint certain electors. There is an enormous difference
between finding a State Court failed to follow its legislative scheme and requiring that State
Court to follow its legislative scheme and what is being requested here which is that this court
order a Governor to appoint certain electors.

The doctrine of abstention allows this District Court should decline to exercise its

jurisdiction. Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976).

 

The allegations against absentee ballots are the same in both this case and the pending case in

Milwaukee County Circuit Court. Given that Article II of the Constitution grants authority for

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creating the legislative scheme for selecting Electors to the individual State, this court should
allow the State court to resolve the dispute. Plaintiff seeks to establish jurisdiction based on the
Wisconsin Elections Commission alleged substantial departing from the legislative scheme for
choosing Electors. That legislative scheme is based in State law and therefore should be heard in
State court.

Plaintiff fails to establish he is likely to or even could prevail on the merits

Plaintiff alleges three separate violations of the Wisconsin Election Code. However,
plaintiff fails to demonstrate how they would succeed on the merits with any of these claims.

First plaintiff claims clerks were given an unlawful directive that they should not
“deactivate an absentee request if [they] believe the voter is not indefinitely confined”. See WEC
May 13, 2020 Guidance Memorandum. Plaintiff suggests this violates Wis. Stat. § 6.86(2)(b)
which requires that an absentee voter be removed “upon the receipt of reliable information that
an elector no longer qualifies”. However, plaintiff makes no argument as to how the guidance
violates the statute. There is a different between believing something and having reliable
information. It is possible to believe in Santa Claus even in the absence of reliable information
that he exists. A clerk could view an individual and form a belief that they are not indefinitely
confined, however, viewing a person, by itself, is not sufficient to be reliable information. As the
WEC guidance noted, “not all medical illnesses or disabilities are visible”.

Second, plaintiff claims clerks do not have the authority to write the witness address onto
the absentee ballot certificate. WEC October 18, 2016 Guidance Memorandum. Despite this
guidance being in place for four years and multiple elections, the legislature did not adjust the
statutory language. The statutory language neither permits, requires, nor prohibits the address

information being added by the clerk. Wis. Stat. § 6.87(6d). There is nothing in the election code

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requiring that the witness be the individual who completes the address. All that is required is the
address be present. Wis. Stat. § 6.87(6d). Plaintiff does not allege any of the addresses were
incorrect or missing. Plaintiff further does not allege that the clerk adding the witness address is
fraudulent or in any manner changed the outcome of the election. Therefore, there is no violation
of Wis. Stat. § 6.87(6d).

Third, plaintiff claims the Wisconsin Elections Commission and Governor Evers illegally
certified the election results by not waiting for the time for an appeal under Wis. Stat. §__
7.70(5)(a). However, plaintiff cites the wrong provision as this is an election for the Office of
President. The correct statute is Wis. Stat. § 7.70(5)(b) which is specific to elections for
presidential electors. There is no such time requirement present in Wis. Stat. § 7.70(5)(b).
Plaintiff fails to establish there is no remedy at law

Plaintiff fails to mention in his briefing that the Wisconsin Statutes have a mechanism for
resolving election disputes, especially as it relates to claims of fraud or noncompliance with the
election code. This is codified in Wis. Stat. 9.01. In fact, Trump, the proper party under
9.01(1)(a)(5)(b) is pursuing such a challenge. The plaintiff's remedy for not being named as an
Elector as he believes should have occurred is to wait for his candidate’s challenge brought
under the Wisconsin Election Code to be heard. The Wisconsin Circuit Court is fully capable of
remedying any election issues that have occurred pursuant to its statutory authority granted by
the legislature. The Wisconsin Circuit Court has the authority to set aside or modify the
determination of a board of canvassers based on an erroneous interpretation of law and can make
factual determinations if necessary. Wis. Stat. § 9.01(8)(d). Further, the Circuit Court is aware of

the time challenges involved due to the scheduled electoral vote on Wednesday December 14

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and should be trusted to rule on Trump’s challenge pursuant to Wis. Stat. § 9.01(7)(b) which
requires the matter “shall be summarily heard and determined”.
Plaintiff fails to establish any harm, let alone irreparable harm

As mentioned above, for allegations of a massive election fraud, Wisconsin has a
procedure for handling those allegations. Wis. Stat. § 9.01. The legislature duly enacted that
process under its authority granted by the U.S. Constitution. The plaintiff's alleged harm of an
invalid vote tally is being addressed through that process which is ongoing in Milwaukee County
Circuit Court Case 2020CV7092. That Court has scheduled deadlines for briefing and scheduled

1" in case the parties

an evidentiary hearing on December 10™ with a backup date of December 1
are in Federal Court on December 10. The Milwaukee County Court has the authority to
summarily hear and decide the matter. Wis. Stat. § 9.01(7)(b)

Regardless of the court’s decision in this case, the challenge to the election in Milwaukee
County Circuit Court Case 2020CV7092 will continue. That case can remedy any alleged
wrongs committed during the 2020 General Election in Wisconsin. Should that occur, it would
repair any harm suffered by plaintiff without needing any intervention from this court.

Plaintiff and Trump do have significant logistical and timing challenges in pursuing relief
whether in this court or before the Milwaukee County Circuit Court. However, as it relates to the
claims about the WEC guidance, that guidance has been in place since October 18, 2016 and
May 13, 2020, respectively. Plaintiff had ample opportunity to bring challenges with respect to
that guidance prior to the election. Additionally, courts are and will continue to do everything

they can to hear these cases in an expedited manner given the electoral voters are scheduled in

vote in Wisconsin on December 14", which is exactly 7 days from today.

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Plaintiff fails to establish the balance of equities favors the plaintiff and goes against the
public interest

The court must balance the equities when determining whether to grant a preliminary
injunction. Everyone in Wisconsin, plaintiff, defendants, and amicus, desire a free and fair
election. Based on that, the equities should be balanced in favor of a free and fair election.

With regards to this election, the statutorily mandated procedure for disputing an election
should continue to proceed. The Wisconsin Legislature was aware that disputes could arise and
in fact disputes have arisen in Wisconsin over the years. This is not the first case to challenge
absentee ballots specifically for alleged noncompliance with the statutory provisions. See e.g.,
Sommerfeld v. Board of Canvassers, 269 Wis. 299, 69 N. W. (2d) 235. The public is served by
allowing the statutory process to continue without interference from the Federal Courts.

Issuing the injunction requested by plaintiff would further moot the Wis. Stat. § 9.01
challenge occurring. If this court orders Governor Evers to certify that Trump won the State of
Wisconsin, it would moot any outcome in the Wis. Stat. § 9.01 challenge occurring in Wisconsin
by a State court. U.S. CONST. art. VI, § 2 (“Supremacy Clause”). In doing so, this court would
be putting the insurmountable weight of the Federal Government on the election result in
Wisconsin and would be unbalancing the scale created by system of checks and balances that
have been maintained since the Constitution was adopted.

CONCLUSION

The plaintiff has failed to establish that this court should grant the requested injunction.
Plaintiff has not sufficiently shown that this court has subject matter jurisdiction as there has not
been a substantial departure from the legislative scheme for choosing electors. Additionally,

even if this court has subject matter jurisdiction it should decline to issue the injunction in favor

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of allowing the challenge filed pursuant to the legislative scheme to progress in Milwaukee
County Circuit Court Case 2020CV7092 as required by Article II of the Constitution to continue.
Wis. Stat. § 9.01(7)(b) allows that matter be “summarily heard and determined”. To the extent an
appeal is filed by either party, appellate courts can be expected to do everything in their power to
rule in expedited manner given the upcoming electoral vote on December 14%,

The plaintiff meets none of the requirements for a preliminary injunction. The plaintiff
has not shown evidence of fraud occurring in the 2020 Wisconsin General Election. At best
plaintiff has shown statistical areas for concern and computer security concerns with some
election software. However, absent from plaintiff's claims are any allegations that fraud
occurred, Fed. R. Civ. P. 9(b) requires plaintiff's allegations “state with particularity the
circumstances constituting fraud.” There are no witnesses offered by plaintiff to any fraud or
misconduct in Wisconsin. Plaintiff will not suffer any harm, let alone irreparable harm, from the
court declining to issue this injunction. In absence of this court issuing an injunction, the
allegations of fraud and election code violations will continue in Wisconsin Circuit Court; where
such challenges belong pursuant to the legislative scheme enacted pursuant to Article II of the
U.S. Constitution. The balancing of equities and public interest weigh against Federal
intervention in a State election dispute. The Wisconsin Circuit Court should be given its
opportunity to fulfill its obligation under Wis. Stat. § 9.01. The Wisconsin Circuit Court, not this
court, should enter any necessary order to the board of canvassers to correct fraudulent or
incorrect vote tallies.

For the reasons outlined in this brief, this court should deny plaintiffs motion for a

temporary restraining order or preliminary injunction.

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Respectfully submitted,

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WILLIAM FEEHAN,

 

Plaintiff
Case No. 2:20-cv-1771
v.

Wisconsin Elections Commission, et al.,

Defendants

 

CERTIFICATE OF SERVICE

 

I, James Gesbeck, certify that I have sent a copy of Amicus Brief in Opposition to
Plaintiff's Motion for Injunctive relief as follows. Further the attorneys for all parties are ECF
filers and will receive a copy of the brief via the e-filing system once received by the court:

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